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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
TYLER TECHNOLOGIES, INC., §
§
Plaintiff, §
§
v. § CIVIL ACTION NO. 3-06-cv-1693-P
§ ECF
VIRTUAL IMPACT PRODUCTIONS, INC., §
§
Defendant. §

PLAINTIFF’S MOTION FOR LEAVE TO
AMEND ITS COMPLAINT AND TO ADD PARTIES

Tyler Technologies, Inc. seeks leave to amend its Complaint to add two members of
Virtual Impact Productions, Inc.’s (“VIP”) Board of Directors because VIP has misled Tyler and
this Court regarding ownership of the patent at issue.

INTRODUCTION

In its Complaint, Tyler seeks a declaration that its actions do not infringe U.S. Patent No.
6,505,031 (the “‘031 Patent”). Until just days ago, VIP represented to Tyler and this Court that
it is the owner of the ‘031 Patent.

VIP now claims that two of its three board members control the patent at issue. This
claim contradicts VIP’s Answer and statements made by VIP and its counsel before and during
this proceeding. Whether VIP’s misrepresentations were the result of an intent to mislead or
negligence will be the subject of future discovery. However, there are reasons to suspect VIP’s
change of position is disingenuous.

Nonetheless, because VIP now identifies two individuals as the alleged owners of the

patent, Tyler seeks to add those parties to this suit. To do so, Tyler requests leave of Court since

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VIP did not provide notice of the allegedly erroneous admission in its Answer until months after
the Court’s deadlines to amend pleadings and to add parties.
RELEVANT BACKGROUND

In a September 2006 letter, VIP accused Tyler of infringing its patent for a “virtual
school environment.” Pl’s Compl. at {7. VIP admits this accusation. Def’s Ans. at 97. VIP
further alleged (and admitted) that it was the owner of the ‘031 Patent. Pl’s Compl. at 7; Def’s
Ans. at J7. The claims and accusations of VIP caused Tyler to file this suit and seek declaratory
relief.

On November 15, 2006, Robert Slider, an officer and/or director of VIP, traveled to
Dallas and, with VIP attorneys Manuel Montez and Charles Holloman, met with Tyler’s counsel
at the scheduling conference. The parties and their counsel submitted the Proposed Scheduling
Order resulting from that conference. See Docket No. 14. Neither Mr. Slider nor counsel
indicated that VIP did not own or control the ‘031 Patent, although this Court directed the parties
to discuss “matters relevant to the status or disposition of this case.”

On February 22, 2007, after the Court’s deadline, VIP served its Rule 26(a)(1) Initial
Disclosures. See Exhibit A. In those Disclosures, VIP listed its three Directors/Officers as the
only persons with relevant knowledge. Jd, According to records filed with the Florida Secretary
of State, these three are the only Directors/Officers of VIP. See Exhibit B. Two of the listed
Directors/Officer are Robert Slider and Michele Robinson — the named inventors of the ‘031
Patent. /d. In its disclosures, VIP did not indicate that Michele Robinson’s or Robert Slider’s

knowledge or connection to this case was related to any ownership in the “031 Patent.

' A copy of VIP’s letter is located as Exhibit A to Tyler’s Original Complaint and has been admitted to be a true
and correct copy by VIP. See Docket No. 12, [7 (admitting the allegations in paragraph 7 of Tyler’s Complaint).

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VIP never filed nor served a Certificate of Interested Parties, as required by Local Rule
7.4, to identify any third persons who are financially interested in the outcome of the case. That
failure to identify financially interested persons implies that no such persons exist.

On May 3, 2007, Tyler received a surprising letter from Ms. Robinson and Mr. Slider
claiming to be the “holders” of the ‘031 Patent and, it would seem, attempting to create grounds
to avoid a declaratory judgment action against them. See Exhibit C. It is clear from this letter
that Ms. Robinson and Mr. Slider were involved in the instant litigation on behalf of VIP and, by
virtue of their own misrepresentations regarding patent ownership, hoped to avoid further
litigation.

On May 15, 2007, VIP served discovery responses on Tyler. See Exhibit D. In those
responses, VIP claims for the first time that VIP does not own the ‘031 Patent. Jad. But, also on
May 15th, VIP served a select set of documents on Tyler, including draft agreements in which
VIP acts as the sole licensor of the ‘031 Patent. See Exhibit E. These documents support a
conclusion that VIP controls the ‘031 Patent.

Also on May 15th, VIP filed a “Confession of Partial Judgment.” See Docket No. 21. In
that document, while VIP now claims to be a “non-owner” of the ‘031 Patent, it agrees to all
relief sought by Tyler save for an award of Tyler’s fees and costs. /d.

While Tyler intends to conduct discovery investigating VIP’s about-face regarding
ownership of the ‘031 Patent, Tyler now seeks leave to amend its Complaint seeking clarification
on the issue of ownership and, in the alternative, a declaration against Ms. Robinson and Mr.
Slider that Tyler does not infringe the ‘031 Patent and that Tyler’s actions do not subject Tyler to
liability under any state law causes of action. Tyler also seeks leave to amend to hold Mr. Slider
and Ms. Robinson liable for the acts of VIP.

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ARGUMENT

Because the Court’s deadlines to amend pleadings and to add parties have expired, Tyler
recognizes it must demonstrate “good cause” to amend its Complaint. See FED. R. Civ. P. 16(b);
S& W Enters, LLC, 315 F.3d at 535; Posey v. Southwestern Bell Tel, L.P., No. Civ.A. 3:04-
CV-1685, 2005 WL 1902783, at *2 (N.D. Tex., Aug. 9, 2005) (mem. op.).

In assessing whether Tyler has established good cause, the Court’s analysis is guided by
the following factors: (1) the explanation for the failure to timely move for leave to amend; (2)
the importance of the amendment; (3) the potential prejudice in allowing the amendment; and (4)
the availability of a continuance to cure such prejudice. S & W Enters., 315 F.3d at 536; Posey,
2005 WL 1902783 at *2. Each of these factors weighs heavily, if not completely, in Tyler’s
favor.

A. VIP’s Misrepresentations Caused This Delay.

For the seven months this case has been pending, Tyler has reasonably relied on VIP’s
judicial admission that it is the owner of the ‘031 Patent, as well as similar claims by VIP in its
September 2006 letter and the continued representations of VIP and its counsel. Rather than
being a massive corporate enterprise, VIP appears to be a closely-held corporation that Mr.
Slider and Ms. Robinson have run since at least 1999. This is not an instance where one hand
does not know what the other is doing, as can occur within large organizations. Rather, Mr.
Slider and Ms. Robinson have actively participated in VIP’s defense of this suit. If, in fact, these
individuals are the true owners of the ‘031 Patent, they (as the persons controlling VIP and the
defense of this litigation) were obligated to raise the issue well before now, and they certainly
had many opportunities to do so.

Prior to the events of May 3rd and May 15th, VIP caused Tyler to believe that VIP was
the only necessary party to this case. Tyler was diligent in seeking discovery in this case and

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upon learning of the need to add two additional parties, quickly filed this motion. This alone
suffices for good cause to allow Tyler leave to amend and to add the two individual VIP board
members. See Hinds vy. Orix Capital Mkts., LLC, Civ. A. No. 3:02-cv-0239-P, 2003 WL
21350210 (N.D. Tex. June 10, 2003) (holding the plaintiff established good cause under Rule 16
to modify the scheduling order when plaintiff did not learn of the need to amend until deposition
occurring after the deadline to amend).

B. Mr. Slider and Ms. Robinson Claim To Be Necessary Parties.

As this Court is aware, Tyler seeks a declaration that its actions do not infringe any valid
claim of the ‘031 Patent. If, in fact, VIP does not control the ‘031 Patent — either as licensee or
assignee — the patent holder should be added. See Textile Prods., Inc. v. Mead Corp., 134 F.3d
1481, 1484 (Fed. Cir. 1998) (“A licensee is not entitled to bring suit in its own name as a
patentee, unless the licensee holds ‘all substantial rights’ under the patent.”) (quoting Vaupel
Textilmaschinen KG v. Meccanica Euro Italia S.P.A., 944 F.2d 870, 875 (Fed. Cir. 1991)); Sicom
Systems, Lid. v. Agilent Technologies, Inc, 427 F.3d 971, 980 (Fed. Cir. 2005) ( “‘[T]he patent
holder or assignee is a necessary party to an infringement action in order to achieve consistency
of interpretation and to avoid multiplicity of litigation. Under federal law, the patentee is the real
party in interest in such litigation.’” (quoting Calgon Corp. v. Nalco Chem. Co., 726 F. Supp.
983, 985 (D. Del. 1989))).

While Tyler doubts whether Mr. Slider and Ms. Robinson own or control the ‘031 Patent,
their company (VIP) and their attorney (Mr. Holloman) now contend that they are necessary
parties. Accordingly, Tyler’s proposed amended Complaint is important and is another factor
weighing in favor of granting Tyler leave to amend.

Cc. VIP and its Two Directors Will Not Be Prejudiced By the Proposed
Amendment.

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VIP will suffer no prejudice by Tyler’s proposed amended Complaint. VIP claims it is
not the owner of the ‘031 Patent and filed a “Confession of Partial Judgment” agreeing to most
of the declaratory relief Tyler seeks. VIP’s further participation in this suit following
amendment is the direct result of actions by VIP’s representatives — Mr. Slider and Ms.
Robinson. For example, Mr. Slider traveled from Florida to Dallas and participated in the
November scheduling conference in this matter. Further, notwithstanding the certainty that Mr.
Slider and Ms. Robinson were informed of Tyler’s allegations by virtue of their positions with
VIP, it bears noting that Mr. Slider and Ms. Robinson’s individual counsel, Mr. Holloman, also
represents VIP in this matter,

Mr. Slider and Ms. Robinson either (a) allowed VIP to knowingly misrepresent
ownership in the ‘031 Patent, or (b) genuinely believed VIP owned the ‘031 Patent and
conducted the defense of this lawsuit accordingly. In either event, VIP, Mr. Slider, and Ms.
Robinson cannot claim to be prejudiced by their own intentional or negligent conduct in failing
to disclose the proper owner of the ‘031 Patent. See Dysart v. Selvaggi, 159 F. Supp. 2d 387,
388 (N.D. Tex. 2001} (permitting amendment of defendant’s answer because plaintiff was on
notice of the proposed affirmative defenses before the close of discovery).

D. Few Deadlines Will Need To Be Continued.

Mr. Slider and Ms. Robinson, as a majority of the board of VIP, have sat back for seven
months and represented through VIP that VIP was the owner of the ‘031 Patent. Now, because
they have chosen to change course on the issue of ownership — apparently in hopes of ending this
litigation — they must be added to this case. Other than the issue of ownership, nothing in this
case has changed; the issues of non-infringement and invalidity remain the central focus
regardless of whether VIP or its board members are the patent owner(s). Some deadlines will

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need to be adjusted, such as Tyler’s expert disclosures deadline, because VIP refuses to identify
the allegedly infringing products or the specific claims of the ‘031 Patent allegedly infringed. It
is unclear whether Mr. Slider or Ms. Robinson will seek extensions to the current deadlines.

Tyler intends to request a status conference with the Court to discuss scheduling in light
of the issues raised in this Motion and by Miscellaneous Order No. 62.”

E. Conclusion

Because the factors for modifying the deadlines to amend pleadings and to add parties
weigh completely in favor of Tyler, this Court should grant this motion and allow Tyler to file its
First Amended Complaint attached hereto as Exhibit F.

Respectfully submitted,
HUGHES & LUCE, LLP

/s/ John W. Patton

John W. Patton

Texas Bar No. 00798422
Megan K. Dredla

Texas Bar No. 24050530
1717 Main Street, Suite 2800
Dallas, Texas 75201

(214) 939-5500 (Office)
(214) 939-6100 (Fax)
pattonj@hughesluce.com
megan.dredla@hughesluce.com

ATTORNEYS FOR PLAINTIFF TYLER
TECHNOLOGIES, INC.

Tyler has attempted to comply with Miscellaneous Order No. 62. Prior to May 1, counsel for Tyler informed
opposing counsel of the need to confer as required by Miscellaneous Order No. 62. On May 8, Counsel for Tyler
sent opposing counsel a copy of Miscellaneous Order No. 62 as a courtesy. Subsequent efforts to confer with
opposing counsel telephonically have been unsuccessful.

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CERTIFICATE OF SERVICE

I hereby certify that on this the 21st day of May, 2007, I electronically filed the foregoing
document with the Clerk of the Court for the United States District Court, Northern District of
Texas, using the electronic case filing system of the Court. The electronic case filing system sent
a “Notice of Electronic Filing” to the following attorneys of record who have consented to accept
this notice as service of this document by electronic means:

Manuel P. Montez, Esq.
Montez & Patterson
851 Culebra

San Antonio, Texas 78201
Email: montezpatterson@sbeglobal.net

/s/ Megan K. Dredla
Megan K. Dredla

CERTIFICATE OF CONFERENCE

Counsel for movant and counsel for respondent have personally conducted conferences at
which there were substantive discussions of every item presented to the Court in this motion.
Mr. Charles Holloman, Florida counsel for Virtual Impact Productions, Inc., stated that he was
unopposed to the Court granting Tyler Technologies, Inc. leave to amend to add Mr. Slider and
Ms. Robinson, but opposed any additional relief. Mr. Manuel Montez, Texas counsel for Virtual
Impact Productions, Inc., stated that he did not have a position on this motion.

Certified to the 21st day of May, 2007.

/sf John W, Patton
John W. Patton

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